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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                              )
 UNITED STATES OF AMERICA,                    )
                                              )      Criminal No. 1:22-cr-00015-APM
           v.                                 )
                                              )
 ELMER STUART RHODES, et al.,                 )
                                              )
                Defendants.                   )
                                              )

                                  [PROPOSED] ORDER

       Upon consideration of Defendant Kelly Meggs’s Motion, it is, this ___ day of ________,

2022, hereby:

       ORDERED that the Motion is GRANTED.

       .

       SO ORDERED.




                                                    The Honorable Amit Mehta
                                                  United States District Court Judge
